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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


    SECURITIES AN]) EXCHANGE
    COM1’I1SSION,

                                Plain tiff,
                                                           Civil Action No. 19- l3O3. (tS (MA H)


   DONALD A. MILNE LII and                                 Jan’ Trial Demanded
   INSTAPRIN PHARMACEUTICALS, INC.,

                                Defendants,
                  and

   ISLAND RACEWAY & HOBBY, INC.,

                                Relief Defendant.


               FINAL JUDGMENT AS TO DEFENDANT DONALD A. MILNE HI

          The Securities and Exchange Commission having filed a Complaint and Defendant

   Donald A. Mime III (“Defendant”) having entered a general appearance; consented to the

   Court’s jurisdiction over Defendant and the subject matter of this action; consented to entry of

   this Final Judgment without admitting or denying the allegations of the Complaint (except as to

  jurisdiction and except as otherwise provided herein in paragraph VII); waived findings of fact

  and conclusions of law; and waived any right to appeal from this Final Judgment:



          IT IS I1EREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

  permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the

  Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C.      §   78j(b)j and Rule IOb.5

  promulgated thereunder [17 C.F.R.    § 240.1 Ob-5J, by using any means or instrumentality of
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    interstate commerce, or of the mails, or of any facility of any national securities exchange, in

    connection with the purchase or sale of any security:

            (a)     to employ any device, scheme, or artifice to defraud;

            (b)     Co make any untrue statement of a material fact or to omit to state a material fact

                    necessary in order to make the statements made, in the light of the circumstances

                    under which they were made, not misleading; or

            (c)     to engage in any act, practice, or course of business which operates or would

                    operate as a fraud or deceit upon any person.

            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

   Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

   receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

   officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

   participation with Defendant or with anyone described in (a).

                                                     II.

           IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

   is permanently restrained and enjoined from violating Section 17(a) of the Securities Act of 1933

   (the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any

   means or instruments of transportation or communication in interstate commerce or by use of the

   mails, directly or indirectly:

           (a)     to employ any device, scheme, or artifice to defraud;

           (b)     to obtain money or property by means of any untrue statement of a material fact

                   or any omission of a material fact necessary in order to make the statements




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                  made, in light of the circumstances under which they were made, not misleading;

                  or

           Cc)    to engage in any transaction, practice, or course of business which operates or

                  would operate as a fraud or deceit upon the purchaser.

           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

   Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

   receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

   officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

   participation with Defendant or with anyone described in (a).

                                                    In.

          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

   is permanently restrained and enjoined from violating Section 5 of the Securities Act [15 U.S.C.

   § 77ej by, directly or indircctly, in the absence of any applicable exemption:
          (a)     Unless a registration statement is in effect as to a security, making use of any

                  means or instruments of transportation or communication in interstate commerce

                  or of the mails to sell such security through the use or medium of any prospectus

                  or otherwise;

          (b)     Unless a registration statement is in effect as to a security, carrying or causing to

                  be carried through the mails or in interstate commerce, by any means or

                  instruments of transportation, any such security for the purpose of sale or for

                 delivery after sale; or

          (c)    Making use of any means or instruments of transportation or communication in

                 interstate commerce or of the mails to offer to sell or offer to buy through the use



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                   or medium of any prospectus or otherwise any security, unless a registration

                   statement has been filed with the Commission as to such security, or while the

                   registration statement is the subject of a refusal order or stop order or (prior to the

                   effective date of the registration statement) any public proceeding or examination

                   under Section 8 of the Securities Act [15 U.S.C. § 77h1.

           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

   Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

   receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

   officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

   participation with Defendant or with anyone described in (a).

                                                     Iv.
           IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

   is permanently restrained and enjoined from directly or indirectly, including but not limited to,

   through any entity owned or controlled by Defendant, participating in the issuance, purchase,

   offer, or sale of any security in an unregistered offering by an issuer provided, however, that

   such injunction shall not prevent Defendant from purchasing or selling securities for his own

   personal account

                                                     V.

          IT IS l-IEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

   is liable for disgorgement of $3,347,775, representing profits gained as a result of the conduct

   alleged in the Complaint, together with prejudgment interest thereon in the amount of

  $280,550.57, jointly and severally with Defendant Instaprin Pharmaceuticals Inc. and Relief

  Defendant Island Raceway & Hobby, Inc., provided that Island Raceway is jointly and severally



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    liable only for $827,586.18 of the $3,347,775 plus prejudgment interest of $113,514.71, and a

    civil penalty in the amount of $554,301 pursuant to Section 20(d) of the Securities Act [15

    U.S.C. § 77t(d)1 and Section 21 (d)(3) of the Exchange Act [IS U.S.C. § 78u(d)(3)], for a total of

    $4,182,626.57. Defendant shall satisfy this obligation by paying $4,182,626.57 to the Securities

    and Exchange Commission within 14 days after entry of this Final Judgment.

           Defendant may transmit payment electronically to the Commission, which will provide

   detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

    from a bank account via Pay.gov through the SEC website at

   http://www.sec.ov/about/offices/ofm.htm. Defendant may also pay by certified check, bank

   cashier’s check, or United States postal money order payable to the Securities and Exchange

   Commission, which shall be delivered or mailed to

           Enterprise Services Center
           Accounts Receivable Branch
           6500 South MacArthur Boulevard
           Oklahoma City, OK 73169

    and shall be accompanied by a letter identifying the case title, civil action number, and name of

   this Court; Donald A. Milne Ill as a defendant in this action; and specifying that payment is

   made pursuant to this Final Judgment.

           Defendant shall simultaneously transmit photocopies of evidence of payment and case

   identifying information to the Commission’s counsel in this action. By making this payment,

   Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part

   of the ftmds shall be returned to Defendant. The Commission shall send the funds paid pursuant

   to this Final Judgment to the United States Treasury.

          The Commission may enforce the Court’s judgment for disgorgement and prejudgment

   interest by moving for civil contempt (and/or through other collection procedures authorized by


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   law) at any time after 14 days following entry of this Final Judgment. Defendant shall pay post

   judgment interest on any delinquent amounts pursuant to 28 U.S.C. § 1961.

                                                    VI.

           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

   incorporated herein with the same force and effect as if hilly set forth herein, and that Defendant

   shall comply with all of the undertakings and agreements set forth therein.

                                                   VII.

           if IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of

   exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. § 523, the

   allegations in the complaint are true and admitted by Defendant, and further, any debt for

   disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this

   Final Judgment or any otherjudgment, order, consent order, decree or settlement agreement

   entered in connection with this proceeding, is a debt for the violation by Defendant of the federal

   securities laws or any regulation or order issued under such laws, as set forth in Section

   523(a)(19) of the Bankruptcy Code, 11 U.S.C. § 523(a)(19).

                                                   VIII.

           if IS FURThER ORDERED. ADJUDGED, AND DECREED that this Court shall retain

   jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.

                                                    DC.

           There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

   Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.


   Date                      ,   2019


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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


   SECURITIES AND EXCHANGE
   COMMISSION,

                                Plaintiff,
                                                          Civil Action No. 19- I3O4 (C5 (M              \
                  V.


  DONALD A. MILNE HI and                                  Jun Trial Demanded
  INSTAPRIN PHARMACEUTICALS, INC.,

                               Defendants,
                 and

  ISLAND RACEWAY & HOBBY, INC.,
                               Relief Defendant.


                       CONSENT OF DEFENDANT DONALD A. MILNE III

            1.   Defendant Donald A. Milne Ill (“Defendant”) waives service of a summons and

  the complaint in this action, enters a general appearance, and admits the Court’s jurisdiction over

  Defendant and over the subject matter of this action.

            2.   Without admitting or denying the allegations of the complaint (except as provided

  herein in paragraph II and except as to personal and subject mafterjurisdiction, which

  Defendant admits), Defendant hereby consents to the entry of the final Judgment in the form

  attached hereto (the “Final Judgment”) and incorporated by reference herein, which, among other

  things:

                 (a)     permanently restrains and enjoins Defendant from violations of Section

                         17(a) of the Securities Act of 1933 (“Securities Act’ [15 U.S.C.   §
                         77q(a)], Section 10(b) of the Securities Exchange Act of 1932 (“Exchange
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                          Act”) [15 U.S.C.   §   78j(b)j and Rule lOb-5 thereunder [17 C.F.R.   §
                          240.lOb-5], and Sections 5(a) and 5(c) of the Securities Act [15 U.S.C.     §
                          77e];

                  (b)    permanently restrains and enjoins Defendant from directly or indirectly,

                          including but not limited to, through any entity owned or controlled by

                          Defendant, participating in the issuance, purchase, offer, or sale of any

                         security in an unregistered offering by an issuer provided, however, that

                         such injunction shall not prevent Defendant from purchasing or selling

                         securities for his own personal account;

                  (c)    orders Defendant to pay disgorgement in the amount of $3,347,775, plus

                         prejudgment interest thereon in the amount of $280,550.57, jointly and

                         severally with Defendant Instaprin Pharmaceuticals, Inc. and Relief

                         Defendant Island Raceway & Hobby, Inc., provided that Island Raceway

                         is jointly and severally liable only for $827,586.18 of the $3,347,775 plus

                         prejudgment interest of$ 113,514.71; and

                 (d)     orders Defendant to pay a civil penalty in the amount of $554,301 under

                         Section 20(d) of the Securities Act [15 U.S.C.   § 77t(d)] and Section
                         21(d)(3) of the Exchange Act [15 U.S.C.     § 78u(d)(3)].
         3.      Defendant agrees that he shall not seek or accept, directly or indirectly,

  reimbursement or indemnification from any source, including but not limited to payment made

  pursuant to any insurance policy, with regard to any civil penalty amounts that Defendant pays

  pursuant to the Final Judgment, regardless of whether such penalty amounts or any pan thereof

  are added to a distribution fund or otherwise used for the benefit of investors. Defendant further



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   agrees that he shall not claim, assert, or apply for a tax deduction or tax credit with regard to any

   federal, state, or local tax for any penalty amounts that Defendant pays pursuant to the Final

   Judgment, regardless of whether such penalty amounts or any part thereof are added to a

   distribution find or otherwise used for the benefit of investors.

          4.      Defendant waives the entry of findings of fact and conclusions of law pursuant to

   Rule 52 of the Federal Rules of Civil Procedure.

          5.      Defendant waives the right, if any, to a jury trial and to appeal from the entry of

  the Final Judgment.

          6.      Defendant enters into this Consent voluntarily and represents that no threats,

  offers, promises, or inducements of any kind have been made by the Commission or any

  member, officer, employee, agent, or representative of the Commission to induce Defendant to

  enter into this Consent.

          7.      Defendant agrees that this Consent shall be incorporated into the Final Judgment

  with the same force and effect as if filly set forth therein.

          8.      Defendant will not oppose the enforcement of the Final Judgment on the ground,

  if any exists, that it fails to comply with Rule 65(d) of the Federal Rules of Civil Procedure, and

  hereby waives any objection based thereon.

          9.      Defendant waives service of the Final Judgment and agrees that entry of the Final

  Judgment by the Court and filing with the Clerk of the Court will constitute notice to Defendant

  of its terms and conditions. Defendant fttrther agrees to provide counsel for the Commission,

  within thirty days after the Final Judgment is filed with the Clerk of the Court, with an affidavit

  or declaration stating that Defendant has received and read a copy of the Final Judgment.

          10.     Consistent with 17 C.F.R. 202.5W, this Consent resolves only the claims asserted



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    against Defendant in this civil proceeding. Defendant acknowledges that no promise or

    representation has been made by the Commission or any member, officer, employee, agent, or

   representative of the Commission with regard to any criminal liability that may have arisen or

    may arise from the facts underlying this action or immunity from any such criminal liability.

    Defendant waives any claim of Double Jeopardy based upon the settlement of this proceeding,

   including the imposition of any remedy or civil penalty herein. Defendant further acknowledges

   that the Court’s entry of a permanent injunction may have collateral consequences under federal

   or state law and the rules and regulations of self-regulatory organizations, licensing boards, and

   other regulatory organizations. Such collaleral consequences include, but are not limited to, a

   statutory disqualification with respect to membership or participation in, or association with a

   member of, a self-regulatory organization. This statutory disqualification has consequences that

   are separate from any sanction imposed in an administrative proceeding. In addition, in any

   disciplinary proceeding before the Commission based on the entry of the injunction in this

   action, Defendant understands that he shall not be permitted to contest the factual allegations of

   the complaint in this action.

           II.    Defendant understands and agrees to comply with the terms of 17 C.F.R.

   § 202.5(e), which   provides in part that it is the Commission’s policy “not to permit a defendant

   or respondent to consent to ajudgment or order that imposes a sanction while denying the

  allegations in the complaint or order for proceedings,” and “a refusal to admit the allegations is

   equivalent to a denial, unless the defendant or respondent states that he neither admits nor denies

  the allegations.” As pan of Defendant’s agreement to comply with the terms of Section 202.5(e),

  Defendant: (i) will not take any action or make or permit to be made any public statement

  denying, directly or indirectly, any allegation in the complaint or creating the impression that the



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   complaint is without factual basis; (ii) will not make or permit to be made any public statement

   to the effect that Defendant does not admit the allegations of the complaint, or that this Consent

   contains no admission of the allegations, without also stating that Defendant does not deny the

   allegations; (iii) upon the filing of this Consent, Defendant hereby withdraws any papers filed in

   this action to the extent that they deny any allegation in the complaint; and (iv) stipulates solely

   for purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11

   U.S.C.   § 523, that the allegations in the complaint are true, and   further, that any debt for

   disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under the

   Final Judgment or any otherjudgment, order, consent order, decree or settlement agreement

   entered in connection with this proceeding, is a debt for the violation by Defendant of the federal

   securities laws or any regulation or order issued under such laws, as set forth in Section

   523(a)09) of the Bankruptcy Code, 11 U.S.C.        § 523(a)(l9).   If Defendant breaches this

   agreement, the Commission may petition the Court to vacate the Final Judgment and restore this

   action to its active docket. Nothing in this paragraph affects Defendant’s: (i) testimonial

   obligations; or (ii) right to take legal or factual positions in litigation or other legal proceedings

   in which the Commission is not a party.

            12.    Defendant hereby waives any rights under the Equal Access to Justice Act, the

   Small Business Regulatory Enforcement Fairness Act of 1996, or any other provision of law to

   seek from the United States, or any agency, or any official of the United States acting in his or

   her official capacity, directly or indirectly, reimbursement of attorney’s fees or other fees,

  expenses, or costs expended by Defendant to defend against this action. For these purposes,

  Defendant agrees that Defendant is not the prevailing party in this action since the parties have

  reached a good faith settlement.



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                13.    Defendant agrees that the Commission may present the Final Judgment to the

        Court for signature and entry without further notice.



                14.    Defendant agrees that this Court shall retain jurisdiction over this matter for the

       purpose of enforcing the terms of the Final



       Dated:    Y1 /9

              On              , 2019,        Onnft1 (\. t’.kulnejfl,   a person lmown tome,
       personally appeared before me and acknowledged executing the foregoing Consent.



                                                     N6tary Public
                                                                           1f
                                                     Commission expires:       Dee.      24, 20.22

       Approed as to form:                                               TRIUSA A VERA
                                                                 Notary PubtIc State ot
                                                                                -
                                                                                           New York
                                                                         No. 01VE535o5B
                                                                    Qualified In Suffolk
                                                                My Comnilgsrcn ExpIr County
                                                                                         Dec. 24, 20fl
   /   Anthony Varbero
       Joseph Mure Jr. & Associates
       26 Court Sired, Suite 2601
       Brooklyn, New York 11242
       Attorney for Defendant Donald A. MUnc Ill




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